Case 8:25-cv-00951-PX   Document 211-15   Filed 07/02/25   Page 1 of 7




                   EXHIBIT J
5/12/25, 2:29 PM                                         Bondi says mistakenly deported man ‘not coming back to our country’
                    Case 8:25-cv-00951-PX                     Document 211-15               Filed 07/02/25           Page 2 of 7

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  Bondi says mistakenly deported man ‘not coming back to our country’
  Rebecca Beitsch ⋮ ⋮ 4/16/2025




  Attorney General Pam Bondi said the Trump administration failed to take “one extra step of paperwork” before it mistakenly deported a
  Maryland man, adding that nonetheless Kilmar Abrego Garcia is “not coming back to our country.”

  The comments were the latest example of officials under President Trump digging in despite a Supreme Court order requiring them to
  “facilitate” Abrego Garcia’s return.

  Bondi also repeated numerous claims about Abrego Garcia’s ties to MS-13 that his family has denied and for which there is a conflicting
  court record.

  “He is not coming back to our country. President Bukele said he was not sending him back. That’s the end of the story,” she told
  reporters at a press conference Wednesday, referring to the Salvadorian leader. “If he wanted to send him back, we would give him a
  plane ride back. There was no situation ever where he was going to stay in this country. None, none.”

  Bondi has previously argued the Supreme Court’s order to facilitate his return meant only that the government would need to supply a
  plane if El Salvador chooses to return him.

  Abrego Garcia, a 29-year-old Salvadoran national who fled the country as a teenager to escape gang violence, was protected from
  deportation by an immigration judge in 2019. The gang Barrio 18 threatened to kill him when trying to extract money from his mother’s
  pupusa business.

  The court record shows numerous issues with the government’s assertion he is a gang member.

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  “He is an illegal alien who has been living illegally in our country from El Salvador. ICE testified, an immigration judge ruled he was a
  member of MS-13. An appellate judge ruled he was a member of MS-13. Hard stop,” Bondi said Wednesday. “He should not be in our
  country.”

  “He was deported. They needed one additional step in paperwork, but now, MS-13 is characterized as they should be as an FTO, as a
  foreign terrorist organization,” she continued. “He would have come back, had one extra step of paperwork and gone back again.”

  But, the attorney general added, “he’s from El Salvador. He’s in El Salvador, and that’s where the president plans on keeping him.”

  A review of Abrego Garcia’s ties to the gang indicates the assertion he was a member was largely based on his wearing of a Chicago
  Bulls jersey and hat when he was arrested in 2019 after loitering outside of a Home Depot looking for work.

  Immigration and Customs Enforcement (ICE) also based the accusation on a tip from an informant who said Abrego Garcia was a
  member of the gang’s New York branch, despite him never having lived in New York.

  The detective who supplied the information to ICE about those gang ties was later suspended.

  Immigration Judge Elizabeth Kessler refused to release Abrego Garcia on bond, writing that the confidential informant was a “past,
  proven, and reliable source of information.” The Justice Department has cited her ruling as evidence that he was part of the gang.

  A second immigration judge later granted Abrego Garcia “withholding of removal,” blocking any efforts to send him to El Salvador on the
  grounds he could face gang violence.
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                   Case 8:25-cv-00951-PX               Document 211-15                Filed 07/02/25           Page 4 of 7
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                   Case 8:25-cv-00951-PX                Document 211-15                Filed 07/02/25           Page 5 of 7




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                   Case 8:25-cv-00951-PX               Document 211-15                Filed 07/02/25           Page 6 of 7

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